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 1                                                                               The Honorable Benjamin H. Settle
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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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     COMMANDER EMILY SHILLING, et al.,                                Case No. 2:25-cv-241 (BHS)
11
                              Plaintiffs,
12
                      v.                                              SUPPLEMENTAL DECLARATION
13                                                                    OF BLAKE DREMANN
     DONALD J. TRUMP, in his official capacity as
14   President of the United States, et al.,

15                            Defendants.

16
             I, Blake Dremann, declare as follows:
17
             1.      I write this declaration to supplement the declaration I signed on February 12,
18
     2025, and submitted in support of the Motion for Preliminary Injunction in this matter on
19
     February 19, 2025. See ECF No. 25.
20
             2.      I have served more than eighteen years but less than twenty years of total active
21
     duty in the United States Navy. Serving in the U.S. Navy has been not only a career for me, but
22
     it is also my calling.
23
             3.      According to the Navy’s “FAQ: Prioritizing Military Excellence and Readiness”
24
     regarding NAVADMIN 055/25 (ECF No. 79-1), which pertains to the Navy’s implementation of
25
     the Department of Defense (“DoD”) February 26, 2025 guidance (ECF No. 58-7) and Executive
26
     Order 14183, “Sailors with over 18 years but less than 20 years of total Active-Duty service by
27
     the deadline are eligible for early retirement under Temporary Early Retirement Authority
28
     SUPPLEMENTAL                                                   Lambda Legal Defense and            Human Rights
                                          Perkins Coie LLP
                                                                      Education Fund, Inc.           Campaign Foundation
     DECLARATION OF BLAKE          1201 Third Avenue, Suite 4900
                                                                    120 Wall Street, 19th Floor    1640 Rhode Island Ave NW
     DREMANN - 1                   Seattle, Washington 98101-3099
                                                                    New York, NY. 10005-3919        Washington, D.C. 20036
                                         Phone: 206.359.8000
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 1   (TERA).” A true and accurate copy of the Navy’s “FAQ: Prioritizing Military Excellence and

 2   Readiness,” updated March 14, 2025, is attached as Exhibit A to this supplemental declaration.

 3          4.      The Navy’s FAQ guidance further clarifies that the deadline to “request voluntary

 4   separation or retirement [is] no later than 2359Y (UTC-12:00), Friday, 28 March 2025” and that

 5   a service member who “does not request voluntary separation by March 28, 2025, … will be

 6   subject to involuntary separation and no longer be eligible for voluntary separation benefits and

 7   may be required to pay back any bonus or incentive pays received where the required obligation

 8   has not been met.” This includes early retirement benefits.

 9          5.      It is not my desire to separate or retire from the United States Navy at this time.

10          6.      Aside from causing me to lose the career of military service I have dedicated my

11   life to, involuntary separation from the Navy pursuant to Executive Order 14183 and its

12   implementing guidance would have dire financial repercussions for me and my family, as not

13   only would I lose my livelihood but would lose benefits and remuneration to which I would be

14   entitled to under TERA according to the guidance.

15          7.      Thus, because Executive Order 14183 and its implementing guidance remain in

16   effect, the impending deadline of March 28, 2025 is fast approaching, and I am currently forward

17   deployed in the USS Frank Cable, a submarine tender, in Guam, on March 20, 2025, I formally

18   submitted my request for early retirement under TERA pursuant to NAVADMIN 055/25 and

19   section 4.4(a)(8) of the DOD February 26, 2025 Guidance. See ECF Nos. 58-7 and 79-1.

20          8.      I am opting for early retirement under TERA solely because not doing so would

21   result in my involuntary separation as well as the potential loss of benefits and discharge status

22   available through so-called “voluntary separation.” The loss of these benefits would result in

23   additional harm to my family and me.

24          9.      Under NAVADMIN 055/25, “[t]he latest date available for … retirement under

25   this policy is no later than 1 June 2025.” Given my responsibilities and desire to continue to

26   serve my country as part of the U.S. Navy, I have requested the latest possible date of June 1,

27   2025 for my early retirement.

28
     SUPPLEMENTAL                                                 Lambda Legal Defense and            Human Rights
                                        Perkins Coie LLP
                                                                    Education Fund, Inc.           Campaign Foundation
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 1          10.     It is my hope and desire that a preliminary injunction in this case would toll such

 2   separation date and that should the courts ultimately find in our favor that I am able to withdraw

 3   the application for early retirement under TERA.

 4          11.     The only reason I am proceeding with my early retirement request is to preserve

 5   my benefits under TERA. I feel that I have been forced and coerced into opting for so-called

 6   “voluntary separation” under Executive Order 14183 and its related guidance. I do not wish to

 7   retire or separate from the United States Navy currently.

 8          12.
            I declare under the penalty of perjury that the foregoing is true and correct.
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11   DATED: March 24, 2025                                        ________________________________
                                                                  Blake Dremann
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